                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION
                               No. 1:19-CV-319-DSC

LISA M. FLANNERY,             )
                              )
                              )
               Plaintiff,     )
                              )
       v.                     )
                              )
ANDREW SAUL,                  )
                              )
Commissioner of               )
Social Security               )
                              )
               Defendant.     )
                              )
______________________________)


                                             ORDER

       Upon stipulation of the parties, it is hereby ordered that Defendant shall pay Plaintiff

$4,750.00 in attorney’s fees in full satisfaction of all claims arising under the Equal Access to

Justice Act, 28 U.S.C. § 2412. If the award to Plaintiff is not subject to the Treasury Offset

Program, payment will be made by check payable to Plaintiff’s counsel, the Stepp Law Firm, in

accordance with Plaintiff’s assignment to her attorney of her right to payment of attorney’s fees

under the Equal Access to Justice Act.

       SO ORDERED.

                                    Signed: November 9, 2020




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